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 5   Joseph J. Tirello, Jr., Esq. (AZ Bar #033371)
     Eric L. Cook, Esq. (AZ Bar #020797)
 6   Attorneys for U.S. Bank National Association, as Trustee for Lehman Brothers Small Balance
     Commercial Mortgage Pass-Through Certificates, Series 2007-3
 7   [File No. 17002370]
 8
                             UNITED STATES BANKRUPTCY COURT
 9
                                   DISTRICT OF ARIZONA
10

11    In re:                                                 Case #:2:17-bk-07624-SHG

12    Arlene Silver and Ronald J. Silver,                      Chapter 11 Proceedings

13                                                   NOTICE OF PRELIMINARY HEARING
                          Debtor(s),                 ON MOTION FOR RELIEF FROM THE
14
                                                     AUTOMATIC STAY
15    U.S. BANK NATIONAL ASSOCIATION,
      AS TRUSTEE FOR LEHMAN BROTHERS
16    SMALL BALANCE COMMERCIAL                       Hearing –
                                                     Date: June 19, 2018
      MORTGAGE PASS-THROUGH
17                                                   Time: 2:00 p.m.
      CERTIFICATES, SERIES 2007-3,
                                                     Place: 230 N. First Avenue
18                                                          Phoenix, AZ 85003
                          Movant                            Courtroom: 301
19    v.
20
      Arlene Silver and Ronald J. Silver, Debtor
21
                          Respondent(s),
22

23             U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR LEHMAN BROTHERS

24   SMALL BALANCE COMMERCIAL MORTGAGE PASS-THROUGH CERTIFICATES,

25   SERIES 2007-3, ("Movant") has filed a Motion for Relief from the Automatic Stay. An
26   Opposition to the Motion has been filed, as such; a hearing regarding the Motion is hereby
27
     requested.
28

     NOTICE OF HEARING                             Page1                       CASE #2:17-bk-07624-SHG
 1          NOTICE IS GIVEN that the hearing on said motion will be held before a United States

 2   Bankruptcy Judge at the following location, 230 N. First Avenue, Phoenix, AZ 85003,
 3   Courtroom 301 at 2:00 p.m.. on June 19, 2018.
 4
                                              Respectfully submitted this 30th day of May, 2018
 5
                                              Zieve, Brodnax & Steele, LLP
 6

 7                                            By: /s/ Joseph J. Tirello, Jr.
                                                 Joseph J. Tirello, Jr., Attorney for Movant
 8
     Original e-filed this 30th day of May,
 9   2018 with:
10
     United States Bankruptcy Court
11   District of Arizona

12   Copy of the foregoing, mailed
     the 30th day of May, 2018 to:
13

14   U.S. TRUSTEE
     OFFICE OF THE U.S. TRUSTEE
15   Renee Sandler Shamblin
     230 NORTH FIRST AVENUE, SUITE 204
16
     PHOENIX, AZ 85003
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     Counsel for Debtor:
18   KYLE A. KINNEY
19   LAW OFFICES OF KYLE A. KINNEY, PLLC
     1717 N 77TH ST., SUITE 6
20   SCOTTSDALE, AZ 85257
21
     Debtor:
22   Arlene Silver, Debtor
     8329 E. Charter Oak Road
23   Scottsdale, AZ 85260-5230
24   Ronald J Silver
     42 Augusta Drive
25
     Deerfield, IL 60015
26
     By        /s/ Joseph J. Tirello, Jr.
27

28

     NOTICE OF HEARING                              Page2                           CASE #2:17-bk-07624-SHG
